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OF TEXAS



NO. WR-81,204-01




EX PARTE ADRIANNA RIZO, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 26,299 IN THE 244TH DISTRICT COURTFROM ECTOR COUNTY 


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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.
&nbsp;
O R D E R

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of the offense of
murder and sentenced to imprisonment for fifty years. The Eighth Court of Appeals affirmed her
conviction.  Rizo v. State, No. 08-99-00129-CR (Tex. App.– El Paso July 12, 2001). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On April 1, 2014, a timely order designating issues was signed by the trial court.  The habeas
record has been forwarded to this Court prematurely.  We remand this application to the 244th
District Court of Ector County to allow the trial judge to complete an evidentiary investigation,
obtain the ordered affidavits, and enter findings of fact and conclusions of law.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter’s notes from any hearing or
deposition, along with the trial court’s supplemental findings of fact and conclusions of law, shall
be forwarded to this Court within 120 days of the date of this order.  Any extensions of time shall
be obtained from this Court. 
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Filed:&nbsp;&nbsp;May 7, 2014
Do not publish 



